Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 1 of 18 PageID 738




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                          Case No. 8:10-cr-327-T-30EAJ

 MARTIS ANTHONY BUNTON, JR.
 ____________________________________

                                               ORDER

        This cause came on for consideration upon Defendant’s Challenge to the

 Government’s Second Amended Information and Notice of Prior Conviction (Dkt. 329) and

 the United States’ Opposition to same (Dkt. 337). On October 7, 2011, the Court held a

 hearing on Defendant’s Challenge in compliance with the procedural requirements of 21

 U.S.C. § 851. The Court reserved ruling after hearing the parties’ arguments about the

 validity of Defendant’s prior convictions. Upon consideration of the parties’ respective

 arguments, the papers, and upon being otherwise advised of the file and the case law related

 to this issue, the Court concludes that Defendant’s Challenge must be denied.1

                                         INTRODUCTION

        Defendant Martis Anthony Bunton, Jr. requests this Court to invalidate his 2009 state-

 court drug convictions and impose his sentence without regard to the statutory enhancements

 authorized under 21 U.S.C. §§ 841(b)(1)(B)(viii) and 851. Bunton relies on the recent




        1
          The Court notes that Defendant withdrew his prior Notice Challenging Previous Convictions (Dkt.
 224) on the record at the October 7, 2011 hearing.
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 2 of 18 PageID 739




 holding of Shelton v. Sec’y, Dep’t of Corrs., – F. Supp. 2d –, Case No. 6:07-cv-839-Orl-35-

 KRS, 2011 WL 3236040 (M.D. Fla. July 27, 2011) in support of his request.

          In Shelton, the court concluded that Florida Statute § 893.13 is facially

 unconstitutional. The court reasoned that the Florida Legislature’s 2002 amendment to

 Florida’s Drug Abuse Prevention and Control law, codified at Fla. Stat. § 893.101,

 eliminated any mens rea requirement for the drug offenses enumerated in Fla. Stat. § 893.13,

 thus rendering these offenses strict liability offenses. The court then held that the statute

 could not pass constitutional muster as a strict liability statute because it subjects its

 offenders to “harsh penalties,” “gravely besmirches an individual’s reputation,” and

 “punishes otherwise innocuous conduct without proof of knowledge or other criminal intent,”

 which violates the Due Process Clause of the United States Constitution. 2011 WL 3236040,

 at *9.

          The Court concludes that the 2002 amendment does not result in a facially

 unconstitutional statute because even without a mens rea requirement, it still satisfies due

 process. While the statute has no element requiring guilty knowledge of the illicit nature of

 the substance, the State still must prove that a defendant charged with a drug offense

 enumerated in Fla. Stat. § 893.13 had knowledge of his possession of the substance.2 In light

 of this surviving element of knowledge and upon consideration of Supreme Court precedent


          2
            It is important to note that the State did not have to prove any element of knowledge in Shelton.
 See, generally 2011 WL 3236040 . Thus, Shelton is distinguishable to the extent that the court there was
 dealing with a violation of section 893.13 that, according to the jury instructions then in use, did not require
 the State to prove anything other than the defendant’s delivery of an illegal substance. See infra at Part II of
 the Discussion, n.2.

                                                  Page 2 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 3 of 18 PageID 740




 regarding the constitutionality of public welfare offenses, the Court holds that Florida’s Drug

 Abuse Prevention and Control law comports with the Due Process Clause of the United

 States Constitution.

                                      BACKGROUND

 I.     Relevant Facts

        On April 16, 2009, Bunton was convicted of three separate cases in the Circuit Court

 for Hillsborough County, Florida, for possession and delivery of cocaine. Bunton was placed

 on probation. The charges in the instant case occurred while Bunton was on probation.

 Specifically, on August 4, 2010, a federal grand jury charged Bunton in Counts One through

 Three of a five-count indictment with: (1) conspiracy to distribute five kilograms or more of

 cocaine; (2) conspiracy to distribute 50 grams or more of cocaine base; and (3) possession

 with intent to distribute 50 grams or more of cocaine base, in violation of 21 U.S.C. §§

 841(a)(1) and 846 (Dkt. 1).

        On August 11, 2010, the government filed an Information and Notice of Prior

 Conviction (Dkt. 24). The government based its Notice exclusively on Bunton’s April 16,

 2009 state-court convictions.     The Information and Notice of Prior Conviction was

 subsequently amended on March 8, 2011 (Dkt. 214) and June 13, 2011 (Dkt. 273).

        In May 2011, Bunton pled guilty to Count One of the Indictment under a plea

 agreement (Dkt. 272). The Court accepted Bunton’s guilty plea (Dkt. 285) and Bunton is

 now awaiting his sentence.



                                           Page 3 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 4 of 18 PageID 741




          On July 27, 2011, the district court held in Shelton v. Sec’y, Dep’t of Corrs., – F.

 Supp. 2d –, Case No. 6:07-cv-839-Orl-35-KRS, 2011 WL 3236040 (M.D. Fla. July 27,

 2011), that Fla. Stat. § 893.13 is facially unconstitutional. On September 9, 2011, Bunton

 filed a response to the government’s Notice of Prior Convictions (Dkt. 329). Relying on

 Shelton, Bunton challenges the validity of his prior drug convictions under Fla. Stat. §

 893.13(1)(a)1. Specifically, Bunton claims that Shelton renders his prior state convictions

 invalid, thus precluding any enhancement in his sentence under section 851.

 II.      Procedure for Adjudicating Contested Section 851 Enhancements

          Under section 851(a)(1), the drug recidivist enhancement provisions of Title 21 are

 triggered when the government, prior to trial or the defendant’s guilty plea, files and serves

 on the defendant an information describing the prior convictions on which the enhancement

 is based. To challenge the validity of a prior conviction alleged in the government’s

 information, the defendant must file a written response with the court. If the defendant

 challenges the validity of his conviction, “a hearing like that contemplated under section

 2254 is exactly what section 851 requires.” U.S. v. Sanchez, 138 F.3d 1410, 1417 (11th Cir.

 1998).

          The Court notes that the parties complied with the procedural requirements of 21

 U.S.C. § 851. The Court conducted the section 851 hearing, as set forth above, on October

 7, 2011. At the hearing, Bunton relied exclusively on Shelton to request that the Court hold

 his prior convictions invalid.



                                           Page 4 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 5 of 18 PageID 742




        As set forth below, the Court concludes that Bunton’s prior convictions are valid and

 may be used to enhance his sentence because Fla. Stat. § 893.13 is facially constitutional.

                                        DISCUSSION

 I.     Where It All Begins - Florida’s Drug Abuse Prevention and Control law

        As set forth in Shelton regarding the history of Florida’s Drug Abuse Prevention and

 Control Law, prior to May 2002, Florida law provided, inter alia:

        (1) (a) Except as authorized by this chapter and chapter 499, it is
        unlawful for any person to sell, manufacture, or deliver, or possess with
        intent to sell, manufacture, or deliver, a controlled substance. Any
        person who violates this provision with respect to:

        1. A controlled substance named or described in s. 893.03(1)(a), (1)(b),
        (1)(d), (2)(a), (2)(b), or (2)(c) 4., commits a felony of the second
        degree, punishable as provided in s. 775.082, s. 775.083, or s. 775.084.

        ...

        (6) (a) It is unlawful for any person to be in actual or constructive
        possession of a controlled substance unless such controlled substance
        was lawfully obtained from a practitioner or pursuant to a valid
        prescription or order of a practitioner while acting in the course of his
        professional practice or to be in actual or constructive possession of a
        controlled substance except as otherwise authorized by this chapter.
        Any person who violates this provision commits a felony of the third
        degree, punishable as provided in s. 775.082, s. 775.083, or s. 775.084.


 2011 WL 3236040, at *1-*2 (citing Fla. Stat. § 893.13(1)(a),(6)(a) (2000)).

        In Chicone v. State, 684 So. 2d 736 (Fla. 1996), the Florida Supreme Court discussed

 whether section 893.13 included guilty knowledge as an element of the offense. The court

 concluded that:

                                          Page 5 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 6 of 18 PageID 743




        We believe it was the intent of the legislature to prohibit the knowing
        possession of illicit items and to prevent persons from doing so by
        attaching a substantial criminal penalty to such conduct. Thus, we hold
        that the State was required to prove that Chicone knew of the illicit
        nature of the items in his possession. As all agree, including the State,
        the legislature would not ordinarily criminalize the “innocent”
        possession of illegal drugs. Silence does not suggest that the legislature
        dispensed with scienter here.

 Id. at 744. Subsequently, in Scott v. State, 808 So. 2d 166, 170–72 (Fla. 2002), the Florida

 Supreme Court reiterated that “knowledge is an element of the crime of possession of a

 controlled substance, a defendant is entitled to an instruction on that element, and ... [i]t is

 error to fail to give an instruction even if the defendant did not explicitly say he did not have

 knowledge of the illicit nature of the substance.”

        In sum, the Florida Supreme Court in Chicone and Scott instructed Florida courts to

 infer a mens rea element of knowledge of the illicit nature of the substance absent specific

 language from the Florida Legislature that knowledge of the illicit nature of the controlled

 substance is not an element of any offense under chapter 893. Notably, these decisions did

 not alter previous decisions of Florida courts, which inferred an element of knowledge of the

 presence of the substance. Rather, Chicone and Scott supplemented those prior decisions,

 holding that, because the statute was silent as to a requirement of guilty knowledge, the court

 would infer that the Florida Legislature intended the state to prove knowledge of the presence

 of the substance and of the illicit nature of the substance. See generally Wright v. State, 920

 So. 2d 21 (Fla. 4th DCA 2005).




                                            Page 6 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 7 of 18 PageID 744




        In May 2002, the Florida Legislature enacted amendments to Florida’s Drug Abuse

 Prevention and Control Law in direct response to the holdings in Chicone and Scott as

 follows:

        (1) The Legislature finds that the cases of Scott v. State, Slip Opinion
        No. SC94701 (Fla. 2002) and Chicone v. State, 684 So. 2d 736 (Fla.
        1996), holding that the state must prove that the defendant knew of the
        illicit nature of a controlled substance found in his or her actual or
        constructive possession, were contrary to legislative intent.

        (2) The Legislature finds that knowledge of the illicit nature of a
        controlled substance is not an element of any offense under this
        chapter. Lack of knowledge of the illicit nature of a controlled
        substance is an affirmative defense to the offenses of this chapter.

        (3) In those instances in which a defendant asserts the affirmative
        defense described in this section, the possession of a controlled
        substance, whether actual or constructive, shall give rise to a permissive
        presumption that the possessor knew of the illicit nature of the
        substance. It is the intent of the Legislature that, in those cases where
        such an affirmative defense is raised, the jury shall be instructed on the
        permissive presumption provided in this subsection.

 Fla. Stat. § 893.101.

        The Florida Legislature made it clear through these amendments that it did not intend

 the offenses under chapter 893 to include an element of guilty knowledge, as the Florida

 Supreme Court had assumed in Chicone and Scott.

        The amendments also created an affirmative defense for lack of knowledge of the

 illicit nature of a controlled substance, such that, when a defendant asserted such a defense,

 the “possession of a controlled substance, whether actual or constructive, shall give rise to




                                           Page 7 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 8 of 18 PageID 745




 a permissive presumption that the possessor knew of the illicit nature of the substance.” Fla.

 Stat. § 893.101(3).

        In response to the enactment of section 893.101, the Florida Supreme Court adopted

 a new set of standard jury instructions. In re Standard Jury Instructions in Criminal Cases

 (No. 2005-3), 969 So. 2d 245 (Fla. 2007). The current Florida standard criminal jury

 instruction 25.7 provides:

        To prove the crime of (crime charged), the State must prove the
        following three elements beyond a reasonable doubt:

        1. (Defendant) possessed a certain substance.
        2. The substance was (specific substance alleged).
        3. (Defendant) had knowledge of the presence of the substance.


        After the 2002 statutory amendments, Florida’s district courts of appeals upheld the

 constitutionality of Florida’s Drug Abuse Prevention and Control Law, without opining in

 any detail about whether the elimination of guilty knowledge comported with the Due

 Process Clause of the United States Constitution. See, e.g., Williams v. State, 45 So. 3d 14

 (Fla. 1st DCA 2010); Johnson v. State, 37 So. 3d 975 (Fla. 1st DCA 2010); Burnette v. State,

 901 So. 2d 925 (Fla. 2d DCA 2005); Wright v. State, 920 So. 2d 21 (Fla. 4th DCA 2005).

 No reported opinion held, as the district court held in Shelton, that the 2002 amendments

 dispensed with any mens rea element, and several noted that the general intent requirement

 remained intact.

        In short, the Florida district courts of appeals’ decisions did not subject the statute to

 the analysis contained in Shelton or Chicone. Rather, several decisions held that the statute

                                           Page 8 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 9 of 18 PageID 746




 made the enumerated offenses general intent crimes because the state still had to prove

 knowledge of the possession of the controlled substance as it was required to do prior to the

 holdings in Chicone and Scott. The courts also held that the affirmative defense created in

 section 893.101(3) did not violate due process by abrogating the state’s burden of proving

 the defendant’s guilt beyond a reasonable doubt. As summarized in Wright:

        The statute does two things: it makes possession of a controlled
        substance a general intent crime, no longer requiring the state to prove
        that a violator be aware that the contraband is illegal, and, second, it
        allows a defendant to assert lack of knowledge as an affirmative
        defense. There is a caveat that, once this door is opened, either actual
        or constructive possession of the controlled substance will give rise to
        a permissive presumption that the possessor knew of the substance’s
        illicit nature, and the jury instructions will include this presumption.
        §893.101(3), Fla. Stat. The knowledge element does not need to be
        proven, but if the defendant puts it at issue, then the jury is going to
        hear about it, and the defendant must work to rebut the presumption.


 Id. at 24. Accordingly, in order to prove a possession offense after the 2002 amendments,

 the state was required to “prove that the defendant knew that he possessed a substance, which

 was in fact [an illicit substance], but the state does not have to prove that the defendant knew

 it was [an illicit substance].” Miller v. State, 35 So. 3d 162, 163 (Fla. 4th DCA 2010).

 II.    What’s in a Name: General Intent Verses Strict Liability

        “What’s in a name? That which we call a rose
        By any other name would smell as sweet.”

                              -William Shakespeare

        The Shelton decision has been criticized for making the assumption that the

 amendments to Florida’s Drug Abuse Prevention and Control Law rendered the offenses

                                           Page 9 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 10 of 18 PageID 747




 enumerated in Fla. Stat. § 893.13 strict liability offenses.3 The criticism is largely based on

 the argument that the 2002 amendments did not alter Florida law to the extent it held prior

 to Chicone and Scott that the drug offenses were general intent crimes. Notably, the jury

 instructions in Chicone required “knowledge of the presence of the substance.” 684 So. 2d

 at 745. As one Florida trial court noted: “the court [in Chicone] was not choosing between

 a strict liability interpretation and an interpretation engrafting a knowledge element: it was

 choosing between two interpretations that each had a knowledge element, with the difference

 being how specific the knowledge needed to be”. State of Florida v. Barnett, et al., Case No.

 11-CF-003124 (Fla. Cir. Ct. 13th Jud. Cir. Aug. 12, 2011).

         The main shortcoming in the Florida courts’ criticism of Shelton is that they do not

 address the federal due process concerns in any detail. In other words, the courts conclude

 their legal analysis after they determine that Shelton incorrectly applied a strict liability

 analysis to the criminal offenses enumerated in chapter 893, presumably because they assume

 that a general intent criminal offense is a fortiori constitutional.

         The Court disagrees that the due process analysis should end with a finding that the

 2002 amendments rendered the offenses enumerated in chapter 893 general intent crimes as

 opposed to strict liability crimes. Focusing on the labeling of the statute is a distraction from

         3
           Notably, Shelton involved a delivery offense, not a possession offense. See generally 2011 WL
 3236040. And the jury instructions used in Shelton did not include any element of knowledge. Id. at *3.
 Thus, the Court agrees with the Shelton decision to the extent it applies to the crime of delivery of a substance
 and the jury instructions fail to require the state to prove the defendant had knowledge of the presence of the
 substance he or she was delivering. Although this issue is not currently before the Court, the Court notes that
 the confusion created by Shelton could be remedied, in part, by amending the Florida jury instructions for
 a delivery offense under chapter 893 to make it clear that the state still has to prove knowledge of the
 presence of the substance.

                                                  Page 10 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 11 of 18 PageID 748




 the salient issue of whether the statute violates an individual’s right of due process. Thus,

 the Court begins its journey through a virtual legal quagmire by addressing the following

 question: regardless of whether the remaining element of knowledge of the presence of the

 substance renders the crimes under chapter 893 general intent crimes or strict liability crimes,

 is that surviving element of knowledge sufficient under due process standards? To answer

 that question, the Court must analyze United States Supreme Court precedent on public

 welfare offenses.

 III.    Public Welfare Offenses4 - What Are the Constitutional Parameters?

         [P]reventing and dealing with crime is much more the business of the
         States than it is of the Federal Government, and ... we should not lightly
         construe the Constitution so as to intrude upon the administration of
         justice by the individual States. Among other things, it is normally
         ‘within the power of the State to regulate procedures under which its
         laws are carried out,’ ... and its decision in this regard is not subject to
         proscription under the Due Process Clause unless ‘it offends some
         principle of justice so rooted in the traditions and conscience of our
         people as to be ranked as fundamental.’

 Montana v. Egelhoff, 518 U.S. 37, 44 (1996) (emphasis added) (quoting Patterson v. New

 York, 432 U.S. 197, 201-202 (1977)).




         4
           “‘Public welfare’ offenses share certain characteristics: (1) they regulate ‘dangerous or deleterious
 devices or products or obnoxious waste materials,’ see United States v. International Minerals & Chemical
 Corp., 402 U.S. 558, 565 (1971); (2) they ‘heighten the duties of those in control of particular industries,
 trades, properties or activities that affect public health, safety or welfare,’ Morissette, 342 U.S. 246, 254
 (1952); and (3) they ‘depend on no mental element but consist only of forbidden acts or omissions,’ id. at
 252-53. Examples of such offenses include Congress’ exertion of its power to keep dangerous narcotics,
 hazardous substances, and impure and adulterated foods and drugs out of the channels of commerce.” Staples
 v. U.S., 511 U.S. 600, 629 (1994) (J. Stevens, dissenting).

                                                 Page 11 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 12 of 18 PageID 749




        The requirement that the state prove some element of mens rea is an established

 principle of American criminal law. As the Supreme Court noted in Morissette v. United

 States, 342 U.S. 246, 250 (1952):

        The contention that an injury can amount to a crime only when inflicted
        by intention is no provincial or transient notion. It is as universal and
        persistent in mature systems of law as belief in freedom of the human
        will and a consequent ability and duty of the normal individual to
        choose between good and evil. A relation between some mental
        element and punishment for a harmful act is almost as instinctive as the
        child’s familiar exculpatory ‘But I didn’t mean to,’ and has afforded the
        rational basis for a tardy and unfinished substitution of deterrence and
        reformation in place of retaliation and vengeance as the motivation for
        public prosecution. Unqualified acceptance of this doctrine by English
        common law in the Eighteenth Century was indicated by Blackstone’s
        sweeping statement that to constitute any crime there must first be a
        ‘vicious will.’

 Because of the importance of requiring guilty knowledge, the Supreme Court held that where

 Congress is silent on the issue of knowledge, the Court would assume it was Congress’ intent

 to require the state to prove guilty knowledge. See generally Staples v. U.S., 511 U.S. 600

 (1994). In Staples, the Court noted that offenses without a guilty knowledge requirement are

 disfavored, and when a statutory scheme carries a penalty of imprisonment of some

 significance, absent clearly stated legislative intent, the Court will read into the statute a

 guilty knowledge requirement. Id. at 619-20. Notably, the Florida Supreme Court followed

 this reasoning in Chicone and Scott, discussed supra.

        That being said, the Supreme Court has acknowledged that there are some crimes for

 which Congress could constitutionally eliminate criminal intent to further a public policy.

 Indeed, the Supreme Court noted in Morissette that it has never undertaken to delineate a

                                          Page 12 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 13 of 18 PageID 750




 precise line for distinguishing between crimes that require a guilty knowledge element and

 crimes that do not. 342 U.S. at 248.

        The Court finds United States v. Balint, 258 U.S. 250 (1922), instructive on this issue.

 In Balint, the defendants were indicted for violating the Narcotic Act of 1914, which made

 it unlawful “for any person to sell, barter, exchange, or give away” certain drugs. The district

 court dismissed the indictment because it did not charge that the defendants knew the drugs

 were illegal, even though the law did not specifically make such knowledge an element of

 the offense. The Supreme Court reversed, holding “in the prohibition or punishment of

 particular acts,” the legislature may “in the maintenance of a public policy provide ‘that he

 who shall do them shall do them at his peril and will not be heard to plead in defense good

 faith or ignorance.’” Id. at 252 (quoting Shevlin-Carpenter Co. v. Minn., 218 U.S. 57, 70

 (1910)). The Court noted examples found in regulatory measures in the exercise of the

 government’s police power where the underlying purpose of the statute was centered on the

 advancement of some social purpose rather than the punishment of the crime. Id.

        In Balint, the Court determined that the congressional purpose of the Narcotic Act was

 “to require every person dealing in drugs to ascertain at his peril whether that which he sells

 comes within the inhibition of the statute, and if he sells the inhibited drug in ignorance of

 its character, to penalize him.” Id. at 254. With respect to the traditional rule making guilty

 knowledge a requisite element of every crime, the Court declared that there is a modification

 of this rule where the purpose of the statute would be obstructed by such a requirement. Id.;

 see also United States v. Berhman, 258 U.S. 280 (1922) (upholding the criminal prosecution

                                           Page 13 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 14 of 18 PageID 751




 of the sale or delivery of opium and cocaine under the Anti-Narcotic Act where the statute

 did not require intent or knowledge as an element of the offense).

        In In United States v. Freed, 401 U.S. 601, 609 (1971), the Supreme Court held that

 an indictment for conspiracy to possess “destructive devices”, i.e., hand grenades, in

 violation of the National Firearms Act, was not defective for absence of an allegation of

 specific intent, or knowledge that the grenades were unregistered. The Court treated an

 offense under the Act as falling within the list of exceptions, “especially in the expanding

 regulatory area involving public health, safety and welfare,” to the general requirement of

 proof of mens rea or “vicious will.” Id. at 607-10. The Freed court noted “[t]his is a

 regulatory measure in the interest of public safety, which may well be premised on the theory

 that one would hardly be surprised to learn that possession of hand grenades is not an

 innocent act. They are highly dangerous offensive weapons, no less dangerous than the

 narcotics involved in United States v. Balint, 258 U.S. 250, 254, 42 S.Ct. 301, 303, 66 L.Ed.

 604, where a defendant was convicted of sale of narcotics against his claim that he did not

 know the drugs were covered by a federal act.” Id. at 609.

        Similarly, in United States v. International Minerals Corp., 402 U.S. 558, 564-65, the

 Supreme Court stated:

        In Balint the Court was dealing with drugs, in Freed with hand
        grenades, in this case with sulfuric acid and other dangerous acids.
        Pencils, dental floss, paper clips may also be regulated. But they may
        be the type of products which might raise substantial due process
        questions if Congress did not require . . . ‘mens rea’ as to each
        ingredient of the offense. But where, as here and as in Balint and
        Freed, dangerous or deleterious devices or products or obnoxious waste

                                  Page 14 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 15 of 18 PageID 752




        materials are involved, the probability of regulation is so great that
        anyone who is aware that he is in possession of them or dealing with
        them must be presumed to be aware of the regulation.

 Notably, in Morissette, the Supreme Court observed that, as common law developed,

 “[e]xceptions [to guilty knowledge] came to include sex offenses, such as rape, in which the

 victim’s actual age was determinative despite defendant’s reasonable belief that the girl had

 reached the age of consent.” 342 U.S. at 251 n. 8; see also United States v. X-Citement

 Video, Inc., 513 U.S. 64, 72 n. 2; Feliciano v. McNeil, 2009 WL 1971635, at *13 (N.D. Fla.

 July 6, 2009) (holding Florida’s statutory rape law did not violate federal due process). It is

 also notable that federal courts uphold the constitutionality of strict liability offenses

 involving the production of child pornography because “protecting children from sexual

 exploitation and abuse is a governmental objective of critical importance”. See United States

 v. Fletcher, 634 F.3d 395, 403 (7th Cir. 2011).

        Importantly, the Supreme Court cited Balint in Staples, and reiterated its language in

 Morissette that “neither this court nor any other has undertaken to delineate a precise line or

 set forth comprehensive criteria for distinguishing between crimes that require a mental

 element and crimes that do not.” Staples, 511 U.S. at 620.

        And so this Court must determine where Florida’s Drug Abuse Prevention and

 Control Law falls on this imprecise line of constitutionality. The Court begins with the

 undisputed fact that the criminal offenses enumerated in chapter 893 are clearly public

 welfare offenses. Indeed, as aptly noted by a Florida circuit court:



                                          Page 15 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 16 of 18 PageID 753




               The defendants attempt to minimize the gravity of the crime of
               possession of a controlled substance, arguing that such crimes
               are not dangerous to the public welfare (as is, for instance,
               statutory rape). Therefore, they argue, the legislative creation of
               a strict liability crime for the possession of such contraband
               criminalized an offense not rationally related to a legitimate
               public purpose. Such a suggestion, however, is starkly belied by
               the reality of multiple generations of Floridians whose lives
               have been forever marred by the delivery, distribution, and use
               of controlled substances. While this Court is aware of the public
               debate surrounding the financial, social, and emotional
               ramifications created by the ‘war on drugs,’ the defendants’
               attempt to diminish the magnitude of drug crimes and drug
               abuse on the public welfare is disingenuous, at best.

 State of Florida v. Beattie, et al., Case No. 2011CF004718AXX (Fla. Cir. Ct. 15th Jud. Cir.

 Sept. 6, 2011).

        The next issue is whether a requirement of knowledge of only the presence of the

 substance is sufficient to comport with federal due process. The Court concludes that it is

 constitutionally sufficient in light of the Supreme Court precedent discussed supra holding

 that a mens rea element is not required in public welfare offenses. Notably, if the State can

 prove that the defendant knew of the substance’s presence, one can reasonably infer that the

 defendant should have been aware that the substance could be regulated by the Florida

 legislature. Indeed, this nation has been dealing with the “war on drugs,” since it was

 launched by President Richard Nixon in 1971. And to the extent that the statute criminalizes

 truly innocent conduct, such as the scenario where the defendant thinks he is delivering or

 possessing a substance as innocuous as flour or sugar, the defendant may (but is not required




                                          Page 16 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 17 of 18 PageID 754




 to) assert the affirmative defense enumerated under section 893.101(2) of “lack of knowledge

 of the illicit nature” of the controlled substance.

        It bears repeating that common sense dictates, given the numerous drug polices that

 are designed to discourage the production, distribution, and consumption of illegal drugs, that

 one can reasonably infer guilty knowledge when a defendant is in possession of an illegal

 substance and knows of the substance’s presence. In other words, having knowledge of the

 presence of the substance should alert the defendant to the probability of strict regulation.

 As the Supreme Court noted in Balint, in such cases, it is constitutionally permissible to

 “place the burden on the defendant to ascertain at his peril whether [his conduct] comes

 within the inhibition of the statute.” Balint, 258 U.S. at 254.

        The Court acknowledges the hazard this may cause to the unwary. But the Court

 concludes that the addition of the affirmative defense helps ameliorate this concern because

 it allows a defendant to introduce the defense that he did not know of the illicit nature of the

 specific substance. Importantly, the affirmative defense “does not violate due process by

 abrogating the State’s burden of proving the defendant’s guilt beyond a reasonable doubt.”

 Burnette v. State, 901 So. 2d 925, 927-28 (Fla. 2d DCA 2005). Indeed, regarding the

 affirmative defense, the Florida Standard Jury Instructions indicate, in relevant part: “If you

 have a reasonable doubt on the question of whether (defendant) knew of the illicit nature of

 the controlled substance, you should find (defendant) not guilty.” In re Standard Jury

 Instructions in Criminal Cases (No. 2005-3), 969 So. 2d 245 (Fla. 2007). Notably, a similar

 affirmative defense was not present in the statutes addressed by the Supreme Court in Balint,

                                           Page 17 of 18
Case 8:10-cr-00327-JSM-AAS Document 357 Filed 10/26/11 Page 18 of 18 PageID 755




 Freed, and International Minerals & Chemical Corp., discussed supra, and those statutes

 passed constitutional muster.

           Accordingly, the Court concludes that Florida’s Drug Abuse Prevention and Control

 Law is not facially unconstitutional. Therefore, it is hereby ORDERED and ADJUDGED

 that Defendant’s Challenge to the Government’s Second Amended Information and Notice

 of Prior Conviction (Dkt. 329) is DENIED.

           DONE and ORDERED in Tampa, Florida on October 26, 2011.




 Copies furnished to:
 Counsel/Parties of Record
 S:\Even\2010\10-cr-327.crimchallenge329-floridadrugstatute.frm




                                                             Page 18 of 18
